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11   IRICO DISPLAY DEVICES CO., LTD.

12
                               UNITED STATES DISTRICT COURT
13
                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
14

15                                     OAKLAND DIVISION

16
     IN RE: CATHODE RAY TUBE (CRT)               )   Case No. 4:07-cv-05944-JST
17   ANTITRUST LITIGATION,                       )
                                                 )   MDL No.: 1917
18                                               )
     THIS DOCUMENT RELATES TO:                   )   IRICO GROUP CORP. AND IRICO
19                                               )   DISPLAY DEVICES CO., LTD.’S
     ALL DIRECT PURCHASER ACTIONS                )   MOTION TO STAY PROCEEDINGS
20                                               )   PENDING APPEAL OF THE
     ALL INDIRECT PURCHASER ACTIONS              )   COURT’S ORDER DENYING
21                                               )   MOTIONS TO DISMISS (DKT. NO.
                                                 )   5637)
22                                               )
                                                 )   Date:        January 8, 2020
23                                               )   Time:        2 p.m.
                                                 )
                                                 )   Judge:       Honorable Jon S. Tigar
24                                                   Courtroom:   6, 2nd Floor
                                                 )
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                                                                     CASE NO. 4:07-CV-05944-JST
     IRICO MOTION FOR STAY                                                        MDL NO. 1917
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1                                NOTICE OF MOTION AND MOTION

2    TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

3             PLEASE TAKE NOTICE that on January 8, 2020, at 2 p.m., or as soon thereafter as the

4    matter may be heard, before the Honorable Jon S. Tigar, United States District Judge of the

5    Northern District of California, Oakland Courthouse, located at Courtroom 6, 2nd Floor, 1301

6    Clay Street, Oakland, California, Irico Group Corporation (“Irico Group” or Group”) and Irico

7    Display Devices Co., Ltd. (“Irico Display” or “Display,” together with Irico Group Corporation,

8    “Irico” or “Irico Defendants”), by and through its undersigned counsel, will and hereby do move

9    this Court for an Order to staying these proceedings pending appeal of this Court’s Order

10   Regarding Motions to Dismiss for Lack of Jurisdiction (Dkt. No. 5637), until such time as the

11   mandate is returned from the Ninth Circuit. This Motion is made on the grounds that Irico’s

12   appeal based on sovereign immunity entitles Irico to a stay of such proceedings as a matter of

13   right.

14            This Motion is based on this Notice of Motion, the following Memorandum of Points and

15   Authorities in support thereof, any materials attached thereto or otherwise found in the record,

16   along with the argument of counsel, and such other matters as the Court may consider.

17                                      ISSUES TO BE DECIDED

18            1.     Whether Irico is entitled as a matter of right to a stay of trial court proceedings

19   pursuant to its appeal of the Court’s Order Regarding Motions to Dismiss for Lack of Jurisdiction

20   (Dkt. No. 5637) under the Foreign Sovereign Immunities Act, 28 U.S. §§ 1602 et seq.

21            2.     Whether, in the alternative, a stay of District Court proceedings should be granted

22   pending resolution of Irico’s Foreign Sovereign Immunities Act arguments by the Ninth Circuit

23   under Landis v. North American Co., 299 U.S. 248 (1936).

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                                                      ii                         CASE NO. 4:07-CV-05944-JST
     IRICO MOTION TO STAY                                                                     MDL NO. 1917
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1    I.     INTRODUCTION

2           Irico Group and Irico Display have appealed this Court’s order denying their motions to

3    dismiss the complaints of the Direct Purchaser Plaintiffs (“DPPs”) and the Indirect Purchaser

4    Plaintiffs (“IPPs”) for lack of subject matter jurisdiction under the Foreign Sovereign Immunities

5    Act, 28 U.S. §§ 1602 et seq (“FSIA”). (See Dkt. 5650.) Irico respectfully requests that the Court

6    issue a stay of further proceedings against Irico until the Ninth Circuit returns a mandate. Under

7    governing Ninth Circuit law, Irico’s appeal under the FSIA divests this Court of jurisdiction, thus

8    affording a stay as a matter of right. Even were it not a matter of right, a discretionary stay of

9    proceedings should issue under the Supreme Court’s decision in Landis v. North American Co.,

10   299 U.S. 248 (1936).

11   II.    BACKGROUND

12          This case, filed in 2007, relates to a purported conspiracy to fix the prices of cathode ray

13   tubes (“CRTs”). Irico ceased participation in the case in May 2009. (Dkt. 732 at 1.) Many years

14   later, DPPs and IPPs obtained entries of default and DPPs moved for default judgment against

15   Irico. (Dkt. 4705, 4727, 5183.) On February 1, 2018, the Court granted Irico’s motion to set

16   aside the entry of default and denied DPPs’ motion for default judgment as moot (Dkt. 5240), and

17   IPPs stipulated to vacate the entry of default soon thereafter (Dkt. 5271). The parties then

18   engaged in limited discovery relating to whether the Court has jurisdiction over either Irico

19   Defendant. (See Dkt. 5282, 5310.)

20          On July 18, 2018, the Irico Defendants filed motions to dismiss the DPPs complaint for

21   lack of subject matter jurisdiction under Fed. R. Civ. P. 12(b)(1). (Dkt. 5312, 5313.) The Irico

22   Defendants filed similar motions against the IPPs’ complaint on March 1, 2019. (Dkt. 5392,

23   5393.) In their motions, the Irico Defendants argued that the Court lacked subject matter

24   jurisdiction because Irico Group and Irico Display are immune to suit under the FSIA. (See Dkt.

25   5312, 5313, 5392, 5393.) After full briefing, the Court held oral argument on the motions on

26   May 30, 2019 (Dkt. 5492), and later requested supplemental briefing on certain jurisdictional

27   issues (Dkt. 5494). The Court denied Irico’s motions to dismiss in an order entered October 29,

28   2019. (Dkt. 5637.)

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1    III.   ARGUMENT

2           The filing of an appeal of an immediately appealable interlocutory order “divests the

3    district court of the jurisdiction to proceed with trial.” Chuman v. Wright, 960 F.2d 104, 105 (9th

4    Cir. 1992) (citing United States v. Claiborne, 727 F.2d 842, 850 (9th Cir. 1984)).

5    “Notwithstanding the absence of a final judgment, under the ‘collateral order’ doctrine of Cohen

6    v. Beneficial Life Industrial Loan Corp., 337 U.S. 541 (1949), a small class of interlocutory

7    orders is immediately appealable.” Compania Mexicana de Aviacion, S.A. v. U.S. Dist. Ct. for

8    the C.D. Cal., 859 F.2d 1354, 1358 (9th Cir. 1988) (citing Mitchell v. Forsyth, 472 U.S. 511

9    (1985)). The Ninth Circuit “ha[s] long held that an order denying immunity under the FSIA is

10   appealable under the collateral order doctrine.” Terenkian v. Republic of Iraq, 694 F.3d 1122,

11   1130 (9th Cir. 2012) (quoting Gupta v. Thai Airways Int’l, 487 F.3d 759, 763 (9th Cir. 2007)).

12   Because such an appeal causes the district court to “lose[] jurisdiction of not only the immunity

13   defense” but also “the claims subject to the immunity defense,” a “stay of pretrial proceedings on

14   those claims would therefore be, essentially, automatic.” Andrade Rico v. Beard, No.

15   2:17-cv-1402 KJM DBP, 2019 WL 4127206, at *2 (E.D. Cal. Aug. 30, 2019) (quoting Padgett v.

16   Wright, 587 F.3d 983, 985 (9th Cir. 2009)). This required result preserves “the full benefits of

17   immunity, should the Ninth Circuit find [defendants] are entitled to it.” Id. at *4.

18          Here, the Irico Defendants appeal the Court’s denial of their challenges to jurisdiction

19   based on sovereign immunity. The effect of that appeal is to effectively stop all proceedings

20   against the Irico Defendants during the pendency of the appeal. See MA Mobile Ltd. v. Indian

21   Institute of Technology Kharagpur, 3:08-cv-02658-WHO, 2014 WL 2216253 at *1 (N.D. Cal.

22   May 29, 2014) (granting motion to stay pending appeal of denial of defendants’ motion to

23   dismiss under foreign sovereign immunity). It is well established that one of the benefits of

24   sovereign immunity is to ensure that parties who are immune from suit avoid the “burdens of

25   litigation” until their immunity status is resolved. See Rush-Presbyterian-St. Luke’s Medical Ctr.

26   v. Hellenic Republic, 877 F.2d 574, 576 n.2 (7th Cir. 1989); see also Hansen v. PT Bank Negara

27   Indonesia, 601 F.3d 1059, 1063 (10th Cir. 2010) (“The immunity provided under the FSIA

28   protects foreign sovereigns from all burdens of litigation, including the general burden of

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1    responding to discovery requests.”); Kelly v. Syria Shell Petroleum Dev. B.V., 213 F.3d 841, 849

2    (5th Cir. 2000) (“FSIA immunity is immunity not only from liability, but also from the costs, in

3    time and expense, and other disruptions attendant to litigation.”).

4           The sole exception to the rule mandating a stay pending appeal of the sovereign immunity

5    issue is if the Court certifies the appeal to be “frivolous” or “waived.” Chuman, 960 F.2d at 105.

6    Irico’s appeal easily clears this low bar, which is targeted solely at preventing abuse of the

7    appellate process. See id. Courts in this district have routinely refused to label appeals on FSIA

8    grounds frivolous, even while expressing concern over the effects of a stay on the litigation. See

9    MA Mobile, 2014 WL 2216253 at *2 (granting defendants motion to stay despite the court’s

10   concerns regarding “the timing of IIT and Chakrabarti’s appeal and the further delay that will

11   result in the case”); Intel Corp. v. Commonwealth Sci. & Indus. Research Org., No. 05-01886,

12   slip op., at 5 (N.D. Cal. Nov. 11, 2005) (“while the Court disagrees with CSIRO on this [FSIA

13   argument], the Court cannot say that CSIRO’s argument is baseless”). Irico’s appeal raises

14   substantial questions of law regarding the FSIA, including whether alleged participation in a

15   conspiracy affecting U.S. markets can supply the requisite jurisdictional contacts to satisfy the

16   FSIA’s commercial activity exception in the absence of direct U.S. sales, and the scope of what

17   constitutes an “organ of a foreign state.” See 28 U.S.C. §§ 1603(b)(2); 1605(a)(2). Finding these

18   substantial questions to be “frivolous” or “waived” would also be in direct conflict with the

19   Court’s prior ruling that Irico has “raised potentially meritorious defenses as to both Group and

20   Display” on sovereign immunity grounds, and that Irico Defendants had not waived their FSIA

21   defenses. (Dkt. 5420 at 13, 18.)

22          Even if a stay were not available as a matter of right, a discretionary stay should be

23   granted under the Supreme Court’s decision in Landis v. North American Co., 299 U.S. 248

24   (1936). The Landis standard examines the “damage which may result from the granting of a

25   stay,” “the hardship or inequity” if the case goes forward, and “the orderly course of justice

26   measured in terms of the simplifying or complicating of issues, proof, and questions of law which

27   could be expected to result from a stay.” Lockyer v. Mirant Corp., 398 F.3d 1098, 1110 (9th Cir.

28   2005) (quoting CMAX, Inc. v. Hall, 300 F.2d 265, 268 (9th Cir. 1962)). This more liberal

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1    standard applies when a stay is sought for “pending proceedings” as opposed to final judgments,

2    id., and unlike stays of final judgments, “do[es] not require” a showing of “strong likelihood of

3    success on the merits of the appeal [or] irreparable injury if a stay is not issued.” Andrade Rico,

4    2019 WL 4127206, at *6; see also Kuang v. U.S. DOD, No. 18-cv-03698-JST, 2019 WL

5    1597495, at *6 (N.D. Cal. Apr. 15, 2019) (Tigar, J.) (granting stay of proceedings under the

6    Landis test and noting that “likelihood of success on the merits is not an independent factor”

7    under that test).

8            The Landis factors uniformly weigh in favor of a stay. To begin, DPPs and IPPs seek

9    only monetary damages, not “injunctive or declaratory relief,” minimizing any “damage” from a

10   stay. Lockyer, 398 F.3d at 1110 (“Applying the [Landis] framework, we noted that [plaintiff]

11   sought only damages. . . . Delay of [the] suit would result, at worst, in a delay in its monetary

12   recovery.”) On the other hand, proceeding with discovery and other pretrial practice would

13   eviscerate the benefit that foreign sovereign immunity should provide. See Bolivarian Republic

14   of Venezuela v. Helmerich & Payne Int’l Drilling Co., 137 S. Ct. 1312, 1317 (2017) (“foreign

15   sovereign immunity’s basic objective” is to “free a foreign sovereign from suit”). Finally, the

16   “orderly course of justice” clearly favors a stay, because “of the potential that the appellate court

17   will determine that a large portion of the action should be dismissed, rendering much of the work

18   to be completed meaningless.” Kuang, 2019 WL 1597495, at *3 (quoting Finder v. Leprino

19   Foods Co., No. 1:13-cv-02059-AWIBAM, at *2 (E.D. Cal. Jan. 20, 2017)).

20   IV.     CONCLUSION

21           Based on the foregoing, Irico requests that the Court enter an order staying all trial

22   proceedings pending return of the mandate from the Ninth Circuit on Irico’s appeal of the Court’s

23   Order Regarding Motions to Dismiss for Lack of Jurisdiction (Dkt. No. 5637).

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25   Dated: November 22, 2019                                     /s/ Stuart C. Plunkett
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